Case 3:20-cv-05216-RBL Document7 Filed ATT

20200320125417

 

AO 440 (Rev. 06/12) Summons in a Civil Action RETURN OF SERVICE

SERVICE OF: SUMMONS AND COMPLAINT
EFFECTED (1) BY ME: DAVID FILARSKI

TITLE: PROCESS SERVER
DATE: 3/20/2020 2:09:15 PM

 

 

CHECK ONE BOX BELOW TO INDICATE APPROPRIATE METHOD OF SERVICE:

[ ] Served personally upon the defendant

NOVARTIS PHARMACEUTICALS CORPORATION C/O CORPORATION SERVICE COMPANY, R.A.
Place where served:

PRINCETON SOUTH CORPORATE CTR. STE 160_100 CHARLES EWING BLVD. EWING NJ 08638

[ ] Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and discretion then residing
therein. Name of person with whom the summons and complaint were left:

DOREEN HEASELIN
Relationship to defendant PERSON AUTHORIZED TO ACCEPT SERVICE

Description of Person Accepting Service:

SEX:F — AGE:51-65 HEIGHT: 5'4"-5'8" WEIGHT: 100-130 LBS. SKIN: WHITE HAIR: BROWN — OTHER:

 

[X] To the best of my knowledge, said person was not engaged in the U.S. Military at the time of service

 

 

STATEMENT OF SERVER

TRAVEL$ . SERVICES $ . TOTAL $

 

 

 

DECLARATION OF SERVER

| declare under penalty of perjury under the laws of the U
this Return o ice and

ited States of America that the foregoing information contained in
temet of Server is true and correct.

LS.

SIGNATURE OF DAVID FILARSKI
GUARANTEED SUBPOENA SERVICE, INC.
2009 MORRIS AVENUE a ©.
UNION, NJ 07083 we

  
 

DATE: 4 1 Q32aQeS

 
   

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ROBYNBROOK — _
NOTARY PUBLIC QF NEWVNIERSEY
My Commission Expires. June 8, 2021

ATTORNEY: RAYMOND C. SILVERMAN, ESQ.

PLAINTIFF: CURTIS PEDERSON

DEFENDANT: NOVARTIS PHARMACEUTICALS CORPORATION
VENUE: DISTRICT

DOCKET: 3 20 CV 05216 RBL

COMMENT;

 

 
